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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    ORDER
                                      Crim. File No. 08‐14 (MJD/SRN)




(1) CHRISTIAN HERNANDEZ‐SELDANA,
(2) RAMIRO CUEVAS‐MARTINEZ,
(3) EDDY MEDINA‐GARZA,
(4) FELIZ MURGUIA‐GARCIA, and
(5) PHAT MINH NGUYEN,

                 Defendants.
________________________________________________________________

Steven L. Schleicher, Assistant United States Attorney, Counsel for Plaintiff
United States of America.

Jordan S. Kushner, Law Office of Jordan S. Kushner, Counsel for Defendant
Ramiro Cuevas‐Martinez.
________________________________________________________________

      The above‐entitled matter comes before the Court upon Defendant Ramiro

Cuevas‐Martinez’s Appeal of the Order of United States Magistrate Judge Susan

Richard Nelson dated March 21, 2008 [Docket No. 120]. Cuevas‐Martinez

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appeals the portion of the Order denying his Motion for Severance of Defendants

[Docket No. 83].

      This Court will reverse a magistrate judge’s order on a nondispositive

issue only if it is clearly erroneous or contrary to law. 28 U.S.C. § 636(b)(1)(A);

Fed. R. Civ. P. 72(a); D. Minn. L.R. 72.2(a).

      The Court has reviewed the applicable law and Defendant’s objections and

finds that the Magistrate Judge correctly applied the law and that the Order is not

clearly erroneous. Based on this Court’s review of the record, the Court

AFFIRMS the Magistrate Judge’s Order dated March 21, 2008.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

      The Order of United States Magistrate Judge Susan Richard Nelson dated
      March 21, 2008 [Docket No. 120] is AFFIRMED.




Dated: May 28, 2008                             s / Michael J. Davis
                                                Judge Michael J. Davis
                                                United States District Court




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